                         Case 1:21-cv-03663-ENV-VMSCI Document
J S 4 4 ( R e v. 4- 2 9- 2 1                          VI L C O V 1-1
                                                                 E R S Filed
                                                                        H E E06/29/21
                                                                              T       Page 1 of 2 PageID #: 17
T h e J S 4 4 ci vil c o v er s h e et a n d t h e i nf or m ati o n c o nt ai n e d h er ei n n eit h er r e pl a c e n or s u p pl e m e nt t h e fili n g a n d s er vi c e of pl e a di n gs or ot h er p a p ers as r e q uir e d b y l a w, e x c e pt as
pr o vi d e d b y l o c al r ul es of c o urt. T his f or m, a p pr o v e d b y t h e J u di ci al C o nf er e n c e of t h e U nit e d St at es i n S e pt e m b er 1 9 7 4, is r e q uir e d f or t h e us e of t h e Cl er k of C o urt f or t h e
p ur p os e of i niti ati n g t h e ci vil d o c k et s h e et. ( S E E I N S T R U C TI O N S O N N E X T P A G E O F T HI S F O R M.)
I. ( a) P L AI N TI F F S                                                                                                                                     D EF E N D A N TS
         PAUL    B. DAVIS
         P A U L B.  D A VI S
                                                                                                                                                               CCORY
                                                                                                                                                                 O R Y AARCANGEL
                                                                                                                                                                         R C A N G E L AAND
                                                                                                                                                                                         N D DDOES   1-10
                                                                                                                                                                                               O E S 1- 10
      ( b)      C o u nt y of R esi d e n c e of First List e d Pl ai ntiff                        UUnited   Kingdom
                                                                                                     nit e d Ki ngdo m                                        C o u nt y of R esi d e n c e of First List e d D ef e n d a nt                      Kings
                                                                                                                                                                                                                                                   Ki n g s County
                                                                                                                                                                                                                                                            C o u nt y
                                                 ( E X C E P T I N U. S. P L AI N TI F F C A S E S)                                                                                               (I N U. S. P L AI N TI F F C A S E S O N L Y)
                                                                                                                                                              N O T E:         I N L A N D C O N D E M N A TI O N C A S E S, U S E T H E L O C A TI O N O F
                                                                                                                                                                               T H E T R A C T O F L A N D I N V O L V E D.

      ( c)      Att or n e ys ( Fir m N a m e, A d dr ess, a n d T el e p h o n e N u m b er)                                                                  Att or n e y s (If K n o w n)

        Wendy
        W e n d y J.    J. LiLindstrom,
                                 n d str o m, Mazzola
                                                M a z z ol a Lindstrom
                                                                 Li n d str o m LLP,   L L P,
        1350
        1 3 5 0 AAvenue
                      v e n u e of    of the
                                         t h e Americas,
                                               A m eri c a s, 22nd  n d Floor,
                                                                           Fl o or, NNY,   Y, NYN Y 110019
                                                                                                      0019
II. B A (646)
        (SI6 S4 6)O 216-8300
                    2F 1J 6-U 8RI3 0S 0DI C TI O N ( Pl a c e a n “ X ” i n O n e B o x O nl y)        III. CI TI Z E N S HI P O F P RI N CI P A L P A R TI E S ( Pl a c e                                                                                    a n “ X ” i n O n e B o x f or Pl ai ntiff
                                                                                                                                                          ( F or Di v ersit y C as es O nl y)                                                     a n d O n e B o x f or D ef e n d a nt)
✖     1     U. S. G o v er n m e nt                        ✖✖ 3       F e d er al Q u esti o n                                                                                              PTF            DEF                                                                 PTF           DEF
                 Pl ai ntiff                                              ( U. S. G o v er n m e nt N ot a P art y)                              Citi z e n of T his St at e                ✖ 1            ✖     1       I n c or p or at e d or Pri n ci p al Pl a c e          ✖ 4         ✖ 4
                                                                                                                                                                                                                             of B usi n ess I n T his St at e

✖     2     U. S. G o v er n m e nt                        ✖     4    Di v ersit y                                                               Citi z e n of A n ot h er St at e            ✖    2       ✖     2       I n c or p or at e d a n d Pri n ci p al Pl a c e          ✖    5        ✖   5
                 D ef e n d a nt                                         (I n di c at e Citiz e ns hi p of P arti es i n It e m III)                                                                                         of B usi n ess I n A n ot h er St at e

                                                                                                                                                 Citi z e n or S u bj e ct of a               ✖    3       ✖     3       F or ei g n N ati o n                                      ✖    6        ✖   6
                                                                                                                                                     F or ei g n C o u ntr y
I V. N A T U R E O F S UI T ( Pl a c e                               a n “ X ” i n O n e B o x O nl y)
                 C O NT R A CT                                                                T O R TS                                              F O R F EI T U R E/ P E N A L T Y                          B A N K R UPT C Y                                O T H E R S T A T U T ES
✖     1 1 0 I ns ur a n c e                                    P E RS O N A L I NJ U R Y                   P E RS O N A L I NJ U R Y             ✖ 6 2 5 Dr u g R el at e d S ei z ur e            ✖    4 2 2 A p p e al 2 8 U S C 1 5 8               ✖     3 7 5 F als e Cl ai ms A ct
✖     1 2 0 M ari n e                                  ✖       3 1 0 Air pl a n e                  ✖      3 6 5 P ers o n al I nj ur y -                    of Pr o p ert y 2 1 U S C 8 8 1        ✖    4 2 3 Wit h dr a w al                          ✖     3 7 6 Q ui T a m ( 3 1 U S C
✖     1 3 0 Mill er A ct                               ✖       3 1 5 Air pl a n e Pr o d u ct                    Pr o d u ct Li a bilit y        ✖ 6 9 0 Ot h er                                              28 US C 157                                           3 7 2 9( a))
✖     1 4 0 N e g oti a bl e I nstr u m e nt                          Li a bilit y                 ✖      3 6 7 H e alt h C ar e/                                                                                                                      ✖     4 0 0 St at e R e a p p orti o n m e nt
✖     1 5 0 R e c o v er y of O v er p a y m e nt      ✖       3 2 0 Ass a ult, Li b el &                       P h ar m a c e uti c al                                                               P R O   P E R T Y RI G H T S                     ✖     4 1 0 A ntitr ust
            & E nf or c e m e nt of J u d g m e nt                    Sl a n d er                               P ers o n al I nj ur y                                                             ✖✖ 8 2 0    C o p yri g hts                         ✖     4 3 0 B a n ks a n d B a n ki n g
✖     1 5 1 M e di c ar e A ct                         ✖       3 3 0 F e d er al E m pl o y ers’                Pr o d u ct Li a bilit y                                                           ✖   830    P at e nt                                ✖     4 5 0 C o m m er c e
✖     1 5 2 R e c o v er y of D ef a ult e d                          Li a bilit y                 ✖      3 6 8 As b est os P ers o n al                                                           ✖   835    P at e nt - A b br e vi at e d           ✖     4 6 0 D e p ort ati o n
             St u d e nt L o a ns                      ✖       3 4 0 M ari n e                                   I nj ur y Pr o d u ct                                                                        N e w Dr u g A p pli c ati o n           ✖     4 7 0 R a c k et e er I nfl u e n c e d a n d
             ( E x cl u d es V et er a ns)             ✖       3 4 5 M ari n e Pr o d u ct                       Li a bilit y                                                                      ✖    8 4 0 Tr a d e m ar k                                      C orr u pt Or g a ni z ati o ns
✖     1 5 3 R e c o v er y of O v er p a y m e nt                     Li a bilit y                   P   E RS O N A L P R OP E R T Y                                L AB O R                       ✖    8 8 0 D ef e n d Tr a d e S e cr ets           ✖     4 8 0 C o ns u m er Cr e dit
            of V et er a n’s B e n efits               ✖       3 5 0 M ot or V e hi cl e           ✖      3 7 0 Ot h er Fr a u d                 ✖ 710     F air L a b or St a n d ar ds                      A ct of 2 0 1 6                                       ( 1 5 U S C 1 6 8 1 or 1 6 9 2)
✖     1 6 0 St o c k h ol d ers’ S uits                ✖       3 5 5 M ot or V e hi cl e           ✖      3 7 1 Tr ut h i n L e n di n g                    A ct                                                                                       ✖     4 8 5 T el e p h o n e C o ns u m er
✖     1 9 0 Ot h er C o ntr a ct                                     Pr o d u ct Li a bilit y      ✖      3 8 0 Ot h er P ers o n al             ✖ 720     L a b or/ M a n a g e m e nt                 S O     CI A L S E C U RI T Y                               Pr ot e cti o n A ct
✖     1 9 5 C o ntr a ct Pr o d u ct Li a bilit y      ✖       3 6 0 Ot h er P ers o n al                       Pr o p ert y D a m a g e                    R el ati o ns                          ✖    861      HI A ( 1 3 9 5ff)                     ✖     4 9 0 C a bl e/ S at T V
✖     1 9 6 Fr a n c his e                                           I nj ur y                     ✖      3 8 5 Pr o p ert y D a m a g e         ✖ 740      R ail w a y L a b or A ct              ✖    862     Bl a c k L u n g ( 9 2 3)              ✖     8 5 0 S e c uriti es/ C o m m o diti es/
                                                       ✖       3 6 2 P ers o n al I nj ur y -                   Pr o d u ct Li a bilit y         ✖ 751     F a mil y a n d M e di c al             ✖    863      DI W C/ DI W W ( 4 0 5( g ))                       E xc ha n ge
                                                                     M e di c al M al pr a cti c e                                                          L e a v e A ct                         ✖    864     S SI D Titl e X VI                     ✖     8 9 0 Ot h er St at ut or y A cti o ns
             RE AL P R OPE RT Y                                   CI VI L RI G H T S                 P RI S O N E R P E TI TI O N S              ✖ 790      Ot h er L a b or Liti g ati o n        ✖    865     R SI ( 4 0 5( g))                      ✖     8 9 1 A gri c ult ur al A cts
✖     210    L a n d C o n d e m n ati o n             ✖       4 4 0 Ot h er Ci vil Ri g hts           H a b e as C o r p us:                    ✖ 791     E m pl o y e e R etir e m e nt                                                              ✖     8 9 3 E n vir o n m e nt al M att ers
✖     220    F or e cl os ur e                         ✖       4 4 1 V oti n g                     ✖   4 6 3 Ali e n D et ai n e e                         I n c o m e S e c urit y A ct                F E D E R A L T A X S UI T S                   ✖     8 9 5 Fr e e d o m o f I nf or m ati o n
✖     230    R e nt L e as e & Ej e ct m e nt          ✖       4 4 2 E m pl o y m e nt             ✖   5 1 0 M oti o ns t o V a c at e                                                             ✖     8 7 0 T a x es ( U. S. Pl ai ntiff                         A ct
✖     240    T orts t o L a n d                        ✖       4 4 3 H o usi n g/                             S e nt e n c e                                                                                    or D ef e n d a nt)                    ✖     8 9 6 Ar bitr ati o n
✖     245    T ort Pr o d u ct Li a bilit y                          A c c o m m o d ati o ns      ✖   5 3 0 G e n er al                                                                           ✖     8 7 1 I R S — T hir d P art y                 ✖     8 9 9 A d mi nistr ati v e Pr o c e d ur e
✖     290     All Ot h er R e al Pr o p ert y          ✖       4 4 5 A m er. w/ Dis a biliti es - ✖    5 3 5 D e at h P e n alt y                           I M MI G R A TI O N                                  26 US C 7609                                      A ct/ R e vi e w or A p p e al of
                                                                     E m pl o y m e nt                 Ot h e r:                                 ✖ 4 6 2 N at ur ali z ati o n A p pli c ati o n                                                                   A g e n c y D e cisi o n
                                                       ✖       4 4 6 A m er. w/ Dis a biliti es - ✖    5 4 0 M a n d a m us & Ot h er            ✖ 4 6 5 Ot h er I m mi gr ati o n                                                                     ✖     9 5 0 C o nstit uti o n alit y of
                                                                     Ot h er                       ✖   5 5 0 Ci vil Ri g hts                               A cti o ns                                                                                              St at e St at ut es
                                                       ✖       4 4 8 E d u c ati o n               ✖   5 5 5 Pris o n C o n diti o n
                                                                                                     ✖ 5 6 0 Ci vil D et ai n e e -
                                                                                                              C o n diti o ns of
                                                                                                              C o nfi n e m e nt
V. O RI GI N                    ( Pl a c e a n “ X ” i n O n e B o x O nl y)
✖
✖     1     Ori gi n al                 ✖   2 R e m o v e d fr o m                      ✖     3    R e m a n d e d fr o m               ✖   4 R ei nst at e d or           ✖      5 Tr a nsf err e d fr o m     6 M ulti distri ct
                                                                                                                                                                                                                         ✖                                            ✖      8    M ulti distri ct
            Pr o c e e di n g                 St at e C o urt                                      A p p ell at e C o urt                     Re o pe ne d                          A n ot h er Distri ct            Liti g ati o n -                                            Liti g ati o n -
                                                                                                                                                                                    (s p e cif y)                    Tr a nsf er                                                 Dir e ct Fil e
                                                                 Cit e t h e U. S. Ci vil St at ut e u n d er w hi c h y o u ar e fili n g ( D o n ot cit e j uris di cti o n al st at ut es u nl ess di v ersit y):
                                                                 228 U.S.C
                                                                   8 U. S. C 22201,
                                                                               2 0 1, 22201;
                                                                                        2 0 1; 117
                                                                                                 7 USC
                                                                                                   U S C 1106(A)
                                                                                                           0 6( A)
VI. C A U S E O F A C TI O N                                     Bri ef d es cri pti o n of c a us e:
                                                                 DDeclaratory
                                                                   e cl ar at or y jjudgment,
                                                                                      u d g m e nt, iinjuncion,
                                                                                                       nj u n ci o n, aaccounting,
                                                                                                                        c c o u nti n g, cconstructive
                                                                                                                                           o n str u cti v e trust
                                                                                                                                                             tr u st aand
                                                                                                                                                                       n d ddamages/payment
                                                                                                                                                                             a m a g e s/ p a y m e nt to  Plaintiff
                                                                                                                                                                                                       t o Pl ai ntiff
VII. R E Q U E S T E D I N                                       ✖     C H E C K I F T HI S I S A C L A S S A C TI O N                               DE M A N D $                                                 C H E C K Y E S o nl y if d e m a n d e d i n c o m pl ai nt:
      C O M P L AI N T:                                                U N D E R R U L E 2 3, F. R. C v. P.                                           Determined
                                                                                                                                                      D et er mi n e d at
                                                                                                                                                                       at trial
                                                                                                                                                                          tri al                                  J U R Y D E M A N D:                           ✖
                                                                                                                                                                                                                                                                 ✖   Y es          ✖    No
VIII. R E L A T E D C A S E( S)
                                                                     ( S e e i nstr u cti o ns):
       IF A N Y                                                                                      J U D GE                                                                                           D OC KET N U MBER
D ATE                                                                                                    SI G N A T U R E O F A T T O R N E Y O F R E C O R D
    June
    J u n e 229,
              9, 2001
                 2001
F O R O F FI C E U S E O N L Y

      R E C EI P T #                              A M O U NT                                                   A P P L YI N G I F P                                               J U D GE                                           M A G. J U D G E
                                   C E R TI FI C A TI Document
                  Case 1:21-cv-03663-ENV-VMS           O N O F A R 1-1
                                                                    BI T RFiled
                                                                           A TI O06/29/21
                                                                                  N E LI GI BIPage
                                                                                               LI T Y2 of 2 PageID #: 18
L o c al Ar bitr ati o n Rul e 8 3. 7 pr o vi d es th at w it h c ert ai n ex c e pti o ns, acti o ns s e e ki n g mo n e y da m a g es o nl y in a n a m o u nt n ot in ex c ess o f $1 5 0, 0 0 0,
e x cl usi v e of int er est a n d costs, ar e e li gi bl e for co m p uls or y ar bitr ati o n. Th e a m o u nt o f d a m a g es is pr es u m e d t o be b el o w th e thr es h ol d a m o u nt u nl ess a
c ertifi c ati o n t o th e c o ntr ar y is fil e d.

C as e is Eli gi bl e f or Ar bitr ati o n            ✔
I, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, co u ns el for _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, d o h e r e b y c ertif y th at th e a b o v e c a pti o n e d civil a ct i o n is in eli gi bl e for
c o m p uls or✔ y a r bitr ati o n f or th e foll o wi n g re as o n(s):

                                  m o n et ar y d a m a g e s s o u g ht ar e i n e x c e s s of $ 1 5 0, 0 0 0, e x cl u si v e of i nt er e st a n d c o st s,
              ✔                   t h e c o m pl ai nt s e e k s i nj u n cti v e r eli ef,

                                  t h e m att er i s ot h er wi s e i n eli gi bl e f or t h e f oll o wi n g r e a s o n


                                                DI S C L O S U R E S T A T E M E N T - F E D E R A L R U L E S CI VI L P R O C E D U R E 7. 1
                                                  I d e ntif y a n y p ar e nt c or p or ati o n a n d a n y p u bli cl y h el d c or p or ati o n t h at o w n s 1 0 % or m or e or it s st o c k s:

 N o n e.
 None.



                                                  R E L A T E D C A S E S T A T E M E N T ( S e cti o n VIII o n t h e Fr o nt of t hi s F or m)
Pl e a s e li st all c a s e s t h at ar e ar g u a bl y r el at e d p ur s u a nt t o Di vi si o n of B u si n e s s R ul e 5 0. 3. 1 i n S e cti o n VIII o n t h e fr o nt of t hi s f or m. R ul e 5 0. 3. 1 ( a) pr o vi d e s t h at “ A ci vil c a s e i s “r el at e d”
t o a n ot h er ci vil c a s e f or p ur p o s e s of t hi s g ui d eli n e w h e n, b e c a u s e of t h e si mil arit y of f a ct s a n d l e g al i s s u e s or b e c a u s e t h e c a s e s ari s e fr o m t h e s a m e tr a n s a cti o n s or e v e nt s, a
s u b st a nti al s a vi n g of j u di ci al r e s o ur c e s i s li k el y t o r e s ult fr o m a s si g ni n g b ot h c a s e s t o t h e s a m e j u d g e a n d m a gi str at e j u d g e.” R ul e 5 0. 3. 1 ( b) pr o vi d e s t h at “ A ci vil c a s e s h all n ot b e
d e e m e d “r el at e d” t o a n ot h er ci vil c a s e m er el y b e c a u s e t h e ci vil c a s e: ( A) i n v ol v e s i d e nti c al l e g al i s s u e s, or ( B) i n v ol v e s t h e s a m e p arti e s.” R ul e 5 0. 3. 1 ( c) f urt h er pr o vi d e s t h at
“ Pr e s u m pti v el y, a n d s u bj e ct t o t h e p o w er of a j u d g e t o d et er mi n e ot h er wi s e p ur s u a nt t o p ar a gr a p h ( d), ci vil c a s e s s h all n ot b e d e e m e d t o b e “r el at e d” u nl e s s b ot h c a s e s ar e still
p e n di n g b ef or e t h e c o urt.”

                                                                                    N Y -E DI VI SI O N O F B U SI N E S S R U L E 5 0. 1( d)( 2)


1.)               I s t h e ci vil a cti o n b ei n g fil e d i n t h e E a st er n Di stri ct r e m o v e d fr o m a N e w Y or k St at e C o urt l o c at e d i n N a s s a u or S uff ol k
                  C o u nt y ?                ✔         Yes             ✔
                                                                        ✔         No

2.)               If y o u a n s w er e d “ n o” a b o v e:
                  a) Di d t h e e v e nt s or o mi s si o n s gi vi n g ri s e t o t h e cl ai m or cl ai m s, or a s u b st a nti al p art t h er e of, o c c ur i n N a s s a u or S uff ol k
                  C o u nt y ?                ✔       Yes            ✔
                                                                     ✔        No

                  b) Di d t h e e v e nt s o r o mi s si o n s gi vi n g ri s e t o t h e cl ai m or cl ai m s, or a s u b st a nti al p art t h er e of, o c c ur i n t h e E a st er n
                  Di stri ct ?               ✔
                                             ✔       Yes              ✔        No

                  c ) If t his is a F air D e bt C oll e cti o n Pr a cti c e A ct c as e, s p e cif y t h e C o u nt y i n w hi c h t h e off e n di n g c o m m u ni c ati o n w a s
                  r e c ei v e d:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ .

If y o ur a n s w er t o q u e sti o n 2 ( b) i s “ N o,” d o e s t h e d ef e n d a nt ( or a m aj orit y of t h e d ef e n d a nt s, if t h er e i s m or e t h a n o n e) r e si de i n N a s s a u or
S uff ol k C o u nt y, or, i n a n i nt er pl e a d er a cti o n, d o e s t h e cl ai m a nt ( or a m aj orit y of t h e cl ai m a nt s, if t h er e i s m or e t h a n o n e) r e si d e i n N a s s a u or
S uff ol k C o u nt y ? _ _ _ _ _✔_ _ _ _ _ Y_ es
                                               _ _ _ _ _ _ _ ✔_ _ _ _ _ _ N_ _o _ _ _ _ _ _ _ _ _
             ( N ot e: A c or p or ati o n s h all b e c o n si d er e d a r e si d e nt of t h e C o u nt y i n w hi c h it h a s t h e m o st si g nifi c a nt c o nt a ct s).

                                                                                                                             B A R A D MI S SI O N

                  I a m c urr e ntl y a d mitt e d i n t h e E a st er n Di stri ct of N e w Y or k a n d c urr e ntl y a m e m b er i n g o o d st a n di n g of t h e b ar of t hi s c o urt.

                                                            ✔
                                                            ✔                         Yes                                                                      ✔             No

                  Ar e y o u c urr e ntl y t h e s u bj e ct of a n y di s ci pli n ar y a cti o n ( s) i n t hi s or a n y ot h er st at e or f e d er al c o urt ?

                                                            ✔                         Yes           (If y e s , pl e a s e e x pl ai n                         ✔✔            No




                  I c ertif y t h e a c c ur a c y of all i nf or m ati o n pr o vi d e d a b o v e.

                  Si g n at ur e : _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
                                                                                                                                                                                                                                            L ast M o difi e d: 1 1/ 2 7/ 2 0 1 7
